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                  UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF NEW HAMPSHIRE


United States of America,
      Plaintiff

             v.
                                              Case No. 11-cr-64-02/03-SM

Cezar Iulian Butu and Iulian Dolan,
      Defendants

                                      ORDER


      Defendant Iulian Dolan has filed an Assented to Motion to Continue the final

pretrial conference and trial for 90 days, which motion is granted (document no. 30).

Defendant Dolan has filed a Waiver of Speedy Trial. Trial has been rescheduled

for the August 2012 trial period.

      The Court finds that the ends of justice served by granting a continuance

outweigh the best interest of the public and the defendants in a speedy trial,

18 U.S.C. ' 3161(h)(8)(B)(iv), in that failure to grant a continuance would

unreasonably deny the defendants the reasonable time necessary for effective

preparation taking into account the exercise of due diligence under the

circumstances.

      Final Pretrial Conference is rescheduled for August 10, 2012 at 10:00 a.m.
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      Jury selection will take place on August 21, 2012 at 9:30 a.m.



      SO ORDERED.



                                     _________________________
                                     Steven J. McAuliffe
                                     U.S. District Judge
May 3 , 2012

cc:   Michael C. Shklar, Esq.
      Jonathan Pendleton, Esq.
      Arnold H. Huftalen, AUSA
      U.S. Marshal
      U.S. Probation




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